           Case 1:19-cv-12550 Document 23 Filed 12/19/19 Page 1 of 5



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
            Case 1:19-cv-12550 Document 23 Filed 12/19/19 Page 2 of 5




                        DECLARATION OF ANDREW J. CONSOLI

Pursuant to 28 U.S.C. § 1746, I, Andrew J. Consoli, declare as follows:


1. I am 34 years old. I am currently incarcerated at MCI-Cedar Junction. I have been granted

   parole, and will soon return to the community.


Addiction History


2. I have been diagnosed with opioid use disorder. I started using opioids for the first time when

   I was 17. The first time I used opioids, I felt like I had met my soulmate. I felt godlike. That

   set me on a course of 17 years of active opioid addiction, which is nearly half of my life.

3. The opioid epidemic ravaged my town of Haverhill, Massachusetts. Almost all of my close

   friends have died, leaving parents, wives, girlfriends, children, and friends to mourn them.

   Once, my mom sent me a picture of me and my best friends when we were in high school.

   There were around ten guys in that picture, and only two of us are still alive.

4. In 2015, when I was in a state of active addiction, I committed an unarmed bank robbery

   with a note that said "50s and 100s, please and thank you very much." I am currently

   finishing up a one- to two-year sentence for a parole violation on that charge. I have been

   granted parole and I am waiting for a bed to open up in a halfway house.

5. I have used the time I have spent in state prison to change my whole way oflife. I am

   meditating and doing yoga every day. I have read dozens of books. I am more serious about

   my recovery than I have ever been before.


Buprenorphine Program at MCI-Cedar Junction


6. When I met with the parole board in the first week of October, 2019, they asked me what

   medication I planned to take when I am released. They recommended Vivitrol, but I


                                                 1
            Case 1:19-cv-12550 Document 23 Filed 12/19/19 Page 3 of 5




   explained that I had tried Vivitrol once and it had made me severely depressed. They then

   recommended Suboxone and told me I could get induced on Suboxone at Cedar Junction.

7. The thought of being on medication made me a little bit less nervous about my release. At

   least I would be leaving on a medication that would prevent me from dying.

8. I explained to my provider that the parole board recommended that I start taking

   buprenorphine and told her my release date. Because I had already been granted parole, the

   provider agreed to prescribe me buprenorphine for my opioid use disorder. She put me on 4

   mg per day and said they will bump me up to 8 mg per day right before I am released. No

   one gave me a medical reason for my prescribed dose.

9. Now I am housed on Block 5 with everyone else who is receiving buprenorphine. People at

   Cedar Junction make me feel like a leper because I am taking this medication that could save

   my life. When we are waiting in the medication line in the morning, the correctional officers

   call it the "crack line," which makes me feel embarrassed and ashamed to be seeking help for

   this disease.

10. I received my medication for fourteen days, until one day when the provider in the

   medication line said she did not have my dose. This was a shock because I was supposed to

   stay on my medication until I was released. I was never given a medical reason for this

   prescription lapse.

11. One of the guards told me to go to the Health Services Unit after lunch to ask about my dose.

   When I did that, I got a disciplinary ticket for being out of place. They locked me in my cell

   as punishment, even though I was just trying to make sure I got my medication.

12. When I finally got to see the nurses, the doctor was gone. The nurses gave me a two-day

   prescription. When the nurse told me one of the other providers had filled my script, she said,



                                                2
            Case 1:19-cv-12550 Document 23 Filed 12/19/19 Page 4 of 5




   "You are lucky," as if I was a lottery winner just because I was receiving my medically

   necessary treatment. When she handed me the cup with the crushed-up pills, she said, "looks

   like it's your early Christmas. Merry Christmas."

13. After two days, my prescription was not refilled. I submitted complaints but was not seen for

   two more days. During this time, I did not receive my medication. I was extremely sick from

   withdrawal. I had vomiting, diarrhea, restless legs, interrupted sleep, sweating, and

   goosebumps.

14. I was finally put back on my medication, but I had to spend the night in the ward. I do not

   think there was any medical reason why I had to spend the night in the ward. Instead, I think

   it was punishment for speaking up about the loss of my buprenorphine medication. I have

   seen the staff use the ward as punishment before. The ward is a miserable and the staff knows

   it is a nightmare.

15. When I got back to my block the next day, they had taken my job away with no explanation.

   This was a huge blow, because there are very few jobs available to people on Block 5, and I

   was one of the lucky people who had one. I never received an explanation for the loss of my

   job.

16. Now, every day at Cedar Junction, I am terrified that my dose will not be there. I am anxious

   all the time that I will have to go through withdrawal again and that I will lose access to this

   life-saving medication.

17. I am a father, a boyfriend, a son, and an uncle. I am so much more than "a crack head," "a

   junkie," or "a loser." But standing in that medication line every morning, I have to pretend I




                                                 3
             Case 1:19-cv-12550 Document 23 Filed 12/19/19 Page 5 of 5




    don't hear the correctional officers and nurses degrading me with those terms. I have to

    pretend I don't see DOC staff pointing at me and looking at me like I am some kind of

    exhibit in a zoo.

19. Because of this treatment, on a daily basis I ask myself, "Do I even deserve help? Should I

    even bother trying to fix my problem? Are people going to treat me like this forever?"

20. Soon I am going home to support my family. In order to do that, I need to be healthy. In

    order to be healthy, I need to receive counseling and to be on my buprenorphine.

21. I am submitting this declaration to inform the court about how the Department of Correction

   discriminates against people with opioid use disorder, with the hope that other people will get

    access to the medication they need to save their lives.


I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on December / 8 , 2019




Andrew J. Consoli




                                                 4
